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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                                           MDL No. 2592
PRODUCTS LIABILITY LITIGATION
                                                                       SECTION L

THIS DOCUMENT RELATES TO:                                              JUDGE ELDON E. FALLON

Dora Mingo v. Janssen Research &
Development, LLC et al.                                                MAGISTRATE NORTH
Case No. 2:15-cv-03469


       BAYER’S MEMORANDUM IN SUPPORT OF MOTION (1) TO ENFORCE
    STIPULATED CASE MANAGEMENT ORDER AND (2) TO QUASH UNTIMELY
            30(b)(6) DEPOSITION NOTICE TO BAYER DEFENDANTS

        Defendants Bayer HealthCare Pharmaceuticals Inc. and Bayer Pharma AG (collectively,

“Bayer”)1 move to enforce the deadlines established in CMO 2A and to quash Plaintiffs’ Notice

of Oral and Videotaped Deposition Pursuant of Corporate Representative of the Bayer

Defendants Pursuant to Fed. R. Civ. P. 30(b)(6), 30(b)(2), and 34 (Ex. 1) seeking broad

discovery, including a deposition and document requests, related to the Canadian labeling of

Xarelto.2

                                              INTRODUCTION

        Plaintiff’s deposition notice and discovery demands effectively seek to unilaterally

reopen generic discovery nearly nine months after the Court’s October 3, 2016 deadline for

discovery of Defendants. CMO 2A § A.3.c. Just like Plaintiffs’ request to reopen case-specific


1
 The Janssen defendants additionally join this motion.
2
  Plaintiffs have also issued a “Notice of Oral and Videotaped Deposition Pursuant to Fed. R. Civ. P. 30(b)(6) of
Southwest Mississippi Regional Medical Center,” noticing an additional deposition on July 11, 2017. This notice is
prejudicial in that it seeks additional discovery just over three weeks before trial, and it clearly contravenes the
Court’s CMO 2A, which set an October 3, 2016, deadline for Plaintiffs to conclude discovery. See CMO 2A ¶ 3(c).
Accordingly, and as explained below with respect to Plaintiffs’ notice of deposition to Bayer regarding Xarelto’s
Canadian label, the Court should quash Plaintiffs’ 30(b)(6) deposition notice to Southwest Mississippi Regional
Medical Center as untimely and prejudicial.


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discovery through a third-party deposition of Southwest Mississippi Regional Medical Center

(see SMRMC Br.3), this eve-of-trial discovery must also be denied as untimely as it violates both

the Court’s deadlines and express agreements between the parties regarding generic discovery of

Defendants.

        In addition to being untimely, this particular discovery also greatly prejudices Bayer.

First, by merely serving this deposition notice and document requests without permission,

Plaintiffs have already managed to divert Bayer’s time from Mingo trial preparations in order to

deal with this improper new discovery. This burden will only grow exponentially if Plaintiffs are

granted a deposition and allowed to re-open document productions less than a month before the

Mingo trial, as Bayer would need to prepare a 30(b)(6) witness on the myriad of topics raised, as

well as undertake a new document collection and production review. Moreover, such discovery

would also likely then necessitate re-opening expert discovery to opine on the results of the

deposition and motion practice to deal with the results of all of that new discovery.

        Finally, and perhaps most importantly, Plaintiffs’ notice seeks broad discovery directed

to the Canadian Xarelto label that is not at issue in the case, particularly in light of the Court’s

ruling in Orr that the labeling in Canada is subject to different rules and is therefore not itself

relevant. Reopening fact discovery at this late date on a topic that is irrelevant will jeopardize

the August 7 trial date in contravention of the Court’s scheduling order and in prejudice to

Defendants. The Court should enforce the agreed-upon discovery deadlines established by CMO

2A and quash Plaintiffs’ notice of deposition of a corporate representative of Bayer.



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  References to “SMRMC Br.” refer to Defendants’ Joint Memorandum in Support of Motion (1) to Enforce
Stipulated Case Management Order and (2) to Quash Untimely Deposition Subpoena Served on Southwest
Mississippi Regional Medical Center, filed contemporaneously with this motion. Because many of the arguments in
the two motions to quash Plaintiffs’ untimely discovery requests, Bayer incorporates the SMRMC brief by reference
here.


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                                          ARGUMENT

        Although trial in this case is scheduled to begin in just over a month—and the discovery

deadline for the bellwether trials established by CMO 2A passed nearly nine months ago—

Plaintiffs have issued a notice of deposition under FRCP 30(b)(6), noticing the deposition of a

corporate representative of the Bayer defendants for July 14. Plaintiffs should not be allowed to

reopen discovery at this late date for three main reasons. First, Plaintiffs’ requested discovery

violates the Court’s scheduling order, which required all fact discovery to be completed nearly

nine months ago. Plaintiffs offer no explanation for their untimely request or their failure to take

discovery in accordance with the Court’s deadlines, while the record confirms that Plaintiffs

were actually in a position to seek this discovery more than a year ago, but chose not to do so.

Second, an additional deposition shortly before trial is prejudicial to Defendants’ trial preparation

and strategy. Third, Plaintiffs seek discovery that is irrelevant, in light of the Court’s ruling in

Orr regarding documents pertaining to the Canadian label. The Court should quash the notice of

deposition.

I.      Plaintiffs’requested discovery is untimely.

        It is undisputed that the fact discovery deadline was October 3, 2016, nine months ago.

CMO 2A § A.3.c. As Defendants have already shown, the extreme lateness of Plaintiffs’

deposition notice is sufficient grounds to quash it. (See SMRMC Br. at 4-6.) Courts routinely

grant such motions to quash, as rewarding late discovery requests would otherwise distort the

orderly sequence of discovery and trial, as reflected in CMO 2A, which set the October 3, 2016

deadline for completion of discovery of Defendants. This distortion is particularly acute in an

MDL, where the parties must be able to rely on discovery deadlines established by the CMOs

across the litigation as a whole. Allowing late discovery in any particular case challenges the




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certainty that CMOs are intended to provide. Plaintiffs’ choice to unilaterally serve discovery

requests without seeking permission or demonstrating good cause further confirms that

Plaintiffs’ notice is improper and should not be rewarded.

       Defendants have also established that Plaintiffs failed to demonstrate “good cause” for

their untimely discovery request, which is separate and sufficient grounds to quash the deposition

notice. (See SMRMC Br. at 6-8.) Nor can Plaintiffs even possibly demonstrate “good cause”

here, as Plaintiffs were fully aware of the relevant issues and documents early in the case, but

failed to pursue them in a timely manner, in several cases affirmatively choosing not to do so.

       Plaintiffs’ new deposition notice relates entirely to the Canadian label for Xarelto, which

is neither a new development nor previously unknown to Plaintiffs.          Defendants produced

relevant correspondence related to the Canadian label that was approved by Health Canada in

June 2015 and January 2016, and this issue was probed during depositions of Bayer employees,

all during the stipulated and ordered discovery period. Likewise, Plaintiffs’ expert witnesses

have already offered opinions on the Canadian label during the stipulated and ordered discovery

period. As such, there is simply no “good cause” for Plaintiffs’ untimely attempt to re-open

discovery at this late stage, and this discovery should not be permitted.

       Plaintiffs’ first two deposition topics in this 30(b)(6) deposition notice quote an entire

paragraph that purportedly appeared in an October 2014 version of Xarelto’s Canadian

monograph:

       Although there is no need to monitor clinical practice, in certain infrequent
       situations such as overdosage, acute bleeding, urgent surgery, in cases of
       suspected noncompliance, or in other unusual circumstances, assessment of the
       anticoagulant effect of rivaroxaban may be appropriate. Accordingly, measuring
       PT using the Neoplastin reagent or Factor-Xa assay using rivaroxaban-specific
       calibrators and controls, may be useful to inform clinical decisions in these
       circumstances.




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The Court may recognize the quoted paragraph on which Plaintiffs now seek discovery. In Orr,

Plaintiffs introduced PX 190, correspondence between Bayer and Health Canada, in order to

raise this language with their own expert, Dr. Parisian, as well as with Janssen’s Sanjay Jalota.4

(Orr. Tr. at 1226:7-15, 1688:2-20, 2460:21-24.) Plaintiffs’ new deposition notice, then, is most

accurately read as an attempt to pursue discovery on PX 190, even though Plaintiffs’ topics fail

to identify the document directly. Understanding that this deposition notice seeks discovery on

PX 190, however, only confirms that the lateness of Plaintiffs’ deposition notice is inexcusable.

         On its face, PX 190 represents a November 24, 2014 submission from Bayer to Health

Canada, in response to an October 3, 2014 “Clarification Request” from Health Canada to Bayer.

It is undisputed that both of these correspondences were timely produced by Defendants during

the stipulated and ordered discovery period. The October 3, 2014 “Clarification Request” from

Health Canada had been produced to Plaintiffs as XARELTO_JANSSEN_00331087 on June 8,

2015, more than a full year prior to the Court’s discovery deadline, and two years before service

of Plaintiffs deposition notice. PX 190 was timely produced to Plaintiffs on January 15, 2016 as

XARELTO_JANSSEN_15297604, nearly 9 months before the now-operative October 3, 2016

discovery deadline.

         The record is also undisputed that Plaintiffs questioned a Bayer witness on this line of

Health Canada correspondence5 during the stipulated and ordered discovery period. At the

deposition of Bayer’s Juergen Weber, Plaintiffs introduced Health Canada’s October 3, 2014

4
  PX 190 was admitted over Defendants’ objection, and Defendants maintain that introduction of the document risks
confusing the jury by introduction of the irrelevant Canadian label. While the Court overruled Defendants’
objections, the Court agreed that the Canadian label was irrelevant, that the jury should not be exposed to the
Canadian label, and that a strict limiting instruction was necessary.
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  Bayer additionally notes that the 30(b)(6) deposition topics in Plaintiffs’ untimely notice also overlap with a
30(b)(6) deposition Plaintiffs previously took in this case, of Bayer representative Mark Dumbovich. Plaintiffs took
the 30(b)(6) of Bayer on topics including the “backup and preservation” of data on computers and network servers.
(See Ex. 2, Dumbovich Depo Ex. 1.) As the prior deposition topics were not limited to the United States, Plaintiffs’
new topics related to “documents and/or electronically stored data” necessarily duplicate the previous deposition and
would give Plaintiffs’ an improper second bite at the apple.


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request as Weber Exhibit 18, asking Mr. Weber a line of questions about its significance. (Ex. 3,

Weber Tr. 194:22-201:10.) As Mr. Weber’s deposition took place on May 19, 2016, PX 190 had

already been produced four months prior, and could have been used with Mr. Weber by Plaintiffs

as well, had they chosen to do so. Plaintiffs were also told by Mr. Weber that “if you want to ask

details about what specific they submitted, you’d have to ask with my Canadian colleagues.”

(Ex. 3, Weber Tr. 33:1-33:4.) While Plaintiffs later used the Canadian label as a general exhibit

with some deponents, they did not ask questions on this line of correspondence with Health

Canada to any witness other than Mr. Weber ahead of the Court’s discovery deadline. (See, e.g.,

Ex. 4, Berkowitz Tr. 288:23-289:4.)

         Furthermore, the record reflects that Plaintiffs affirmatively chose to limit their discovery

regarding Canadian regulatory issues.                In April 2016, over one year ago, Bayer provided

Plaintiffs a list of possible document custodians from whom Bayer could produce files (Ex. 5,

4/22/16 Coon E-mail and Attachment), including Alison Maloney, an employee who had been

previously identified as responsible for Canadian regulatory contacts.6 (See id. at § 3; Ex. 6,

1/27/16 Coon E-mail.) In its responses to Bayer’s list of possible custodians, however, Plaintiffs

never requested production from Ms. Maloney, and on July 14, 2016, the parties reached

agreement on a set of custodians that did not include Ms. Maloney. (Ex. 7, 7/14/16 Barr E-mail

Chain.) Furthermore, the PSC expressly agreed at that time that “there will be no further

requests for files or additional changes to the remaining document production schedule unless

the PSC obtain an Order from the Court upon a showing of good cause, as required by CMO 21.”

(See Ex. 7, 7/14/16 Barr E-mail Chain at 1-2, 4.) Ignoring their express agreement not to seek


6
 Consistent with Bayer’s position at trial and at all other times in this litigation, at the time that Bayer identified Ms.
Maloney, Bayer also expressed its view that the Canadian regulatory process was not relevant to this litigation. (Ex.
6, 1/27/16 Coon E-mail.) Bayer raises this discovery history only to demonstrate Plaintiffs’ many opportunities to
seek this discovery before the Court’s deadline, and failed to do so.


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further document discovery without permission from the Court and a showing of good cause,

Plaintiffs now seek to unilaterally reopen discovery on topics they had previously foregone.

         Having had ample time and opportunity during the discovery period to seek such

discovery, Plaintiffs should not be permitted to suddenly re-open discovery on the eve of trial.

Plaintiffs cannot reasonably deny either that they were aware of this line of correspondence with

Health Canada, or that they were able to pursue it prior to the Court’s deadline but failed to do

so.

         Plaintiffs do not claim that there has been some new scientific development that suggests

a new theory of liability that could not have been pursued earlier, or that some circumstance

beyond Plaintiffs’ control prevented them from seeking the intended deposition sooner. Instead,

Plaintiffs simply failed to seek this deposition within the Court’s deadline, which provides no

basis to relieve them from the discovery deadline and allow them to take additional depositions

on the eve of trial. See United States v. St. Bernard Par., Nos. 12-321, 12-322, & 12-325, 2013

WL 209025, at *1 (E.D. La. Jan. 17, 2013 (holding that “a lack of diligence in seeking

discovery” forecloses a showing of good cause).

II.      Allowing Plaintiffs to reopen discovery on the eve of trial would prejudice
         Defendants.

         The Court also should enforce the existing case management order and quash Plaintiffs’

deposition notice because an additional deposition scheduled mere weeks before trial is

prejudicial. See In re Pool Prods. Distribution Market Antitrust Litig., MDL No. 2328, 2014

WL 1154334, at *5 (E.D. La. Mar. 21, 2014) (recognizing that a party “incur[s] significant costs,

in terms of both time and expense, if [it] must prepare for and conduct a deposition” after the

close of fact discovery).




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       The Court has made clear (most recently at the June 26th status conference, several days

before Plaintiffs served their untimely notice of deposition) that the Mingo trial will start on

August 7. Plaintiffs’ requested deposition—noticed for July 14—would take place less than a

month before trial. Such an eleventh-hour request necessarily “prejudice[s] . . . a party’s trial

preparation and strategy.” Huey v. Super Fresh/Sav-A-Center, Inc., No. 07-1169, 2008 WL

2633767, at *2 (E.D. La. June 25, 2008). Huey is an apt analogy—there, the court quashed a

deposition subpoena issued mere weeks before trial, finding that unfair prejudice would result “if

th[is] deposition[ is] required at this late date, when trial preparation—not further depositions—

should be underway.” Id. Just so here, although there is even greater prejudice in this case

because Plaintiffs’ late deposition notice could potentially lead to the need for even broader

discovery related to and in response to the deposition.

       Furthermore, a 30(b)(6) deposition of Bayer would be particularly prejudicial, as it would

require not only defending a deposition, but also extensive time and expense on Bayer’s part to

prepare a witness on behalf of the company on the broad topics that Plaintiffs have identified.

Plaintiffs’ notice of deposition includes several categories of documents on which they seek

discovery, including “[e]ach and every scientific or prescription drug standard, guideline or

requirement promulgated by Canadian regulators which either controlled or influenced the

content of any Bayer communications and/or Xarelto label language” related to the deposition

topics, as well as “[a]ll documents responsive” to those topics. (Ex. 1 at 6-7.) Such a request

would require Bayer to perform detailed technical research regarding complex Health Canada

standards, which have no bearing on this litigation, and then provide the fruits of that research to

Plaintiffs. Plaintiffs effectively seek to have Bayer formulate Plaintiffs’ own trial arguments,

which improperly puts burdens on Bayer that Plaintiffs should be bearing themselves.




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         Plaintiffs’ notice also includes document requests, including discovery on how Bayer

“has advised or advises physicians in Canada,” and “[a]ny communications initiated by or on

behalf of a Bayer entity to anyone outside the Bayer organization on the subject of the use of a

PT test in connection with Xarelto therapy.” Given the potential breadth of these discovery

requests, it is simply not possible to prepare such discovery either by Plaintiffs’ demanded date

of deposition or the start of trial in Mingo. Such discovery would take significant time and

resources, potentially involving document collection and review, following by identification of

and contact with large numbers of third parties, including former employees of Bayer. Such a

large and costly re-opening and expansion of discovery cannot possibly be completed by either

Plaintiffs’ deadline for this deposition or the Courts’ start date for Mingo. That these burdens

would themselves distract Bayer from Mingo trial preparations merely compounds this prejudice.

         The deposition that Plaintiffs seek could also potentially lead to the need for revised case-

specific and generic expert opinions7 and, based on the deposition testimony, potentially

additional discovery and motion practice. This simply cannot be done in time for trial, and the

resultant prejudice is incurable. Cf. Perez v. City of New Orleans, 173 F. Supp. 3d 337, 347

(E.D. La. 2016) (finding prejudice where Plaintiffs’ late-disclosed discovery could require

additional depositions just three weeks before trial); see also Providence Piers, LLC v. SMM

New England, Inc., No. 12-532 S, 2014 U.S. Dist. LEXIS 157125 at *10-11 (D.R.I. Nov. 6,

2014) (failure to comply with discovery deadlines not harmless when later deposition “could

reveal information that necessitates a response from [Defendants’] rebuttal experts, which will

inevitably cause delay now that expert discovery has closed”).


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  Notably, CMO 2B reflects this likelihood related to other post-deadline discovery. Section 3.c.1.ii recognized that,
if a fact deposition was permitted to take place after the close of discovery, “new evidence [may be] discovered
during the conduct of such a deposition,” at which point “Plaintiffs and Defendants shall have the right to
supplement any related experts.” The logic behind CMO 2B would apply equally here.


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        Moreover, based on this deposition, trial witnesses could be asked about topics that were

not raised at their own depositions and could unfairly subject Defendants to trial by ambush.

This is particularly true here, where Plaintiffs are able to speak with Ms. Mingo’s doctors ex

parte but Defendants are not. As this Court has recognized, “allowing the Plaintiffs to ambush

the Defendant” with additional witnesses or unexpected testimony on the eve of trial “is totally

inconsistent with the purpose of the discovery rules.” Campo v. State Farm Fire & Cas. Co.,

No. 06-2611, 2007 WL 2710817, at *2 (E.D. La. Sept. 12, 2007) (Fallon, J.).

III.    Plaintiffs’ deposition notice seeks information that the Court has already expressly
        held to be irrelevant.

        Even if Plaintiffs had sought this discovery in a timely manner, if Plaintiffs had an excuse

for why it was being sought so soon before trial, or if it were not so prejudicial to Defendants, it

would still be fatally irrelevant to any issue in this litigation.

        When Plaintiffs introduced PX 190 at trial in Orr, the Court was very careful and clear to

circumscribe the document’s relevance. The Court has explained that the potential, narrow

significance of PX 190 related only to “what the defendant knew, when they knew it.” (Orr Tr.

1220:14-16.) The Court, on the other hand, was “not interested in what the label is or any

reference to the label,” and told Plaintiffs beforehand that it would instruct the jury to disregard

the Canadian label for any other purposes beyond that narrow issue. (Orr Tr. 1221:8-15.) As the

Court recognized, the Canadian label is not itself relevant, “because the rules are different, the

laws are different, the specifics are different.” (Orr Tr. 1977-11.)

        Despite that narrow use permitted by the Court, Plaintiffs now seek broad new discovery

into the Canadian label and PX 190. Topics on which Plaintiffs demand a deposition include

“medical and scientific literature that supports the statement” from PX 190, and the extent to

which Bayer communications were ultimately “reflected in a label for the use of Xarelto in



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Canada.” All of this runs contrary to the Court’s instruction that “why they sent it and what the

other person did about” Bayer communications was simply not relevant, and certainly not the

basis for admission of PX 190 in Orr. Rather than trying to tailor its untimely discovery to the

narrow allowances in Orr, Plaintiffs attempt to use the Orr ruling as a springboard for discovery

that the Court has made clear it considers irrelevant, providing one more sufficient basis to quash

the notice of deposition. See, e.g., Armstrong v. Rite Aid, No. 10-1647, 2011 WL 2838829, at *3

(E.D. La. July 14, 2011) (concluding that “defendant would be prejudiced by allowing additional

discovery into irrelevant matters”).

                                         CONCLUSION

       The additional discovery that Plaintiffs seek is untimely, prejudicial, and, ultimately,

irrelevant. The Court should enforce the stipulated case management order and quash Plaintiffs’

Notice of Oral and Videotaped Deposition of Corporate Representative of the Bayer Defendants

Pursuant to Fed. R. Civ. P. 30(b)(6), 30(b)(2), and 34.



Respectfully submitted,

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